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                 23-30
    IN THE UNITED STATES COURT OF APPEALS
             FOR THE SECOND CIRCUIT


                     DEBRA A. VITAGLIANO
                                                    Plaintiff-Appellant,
                                v.

                  COUNTY OF WESTCHESTER,

                                                    Defendant-Appellee.


    Appeal from the United States District Court for the
Southern District of New York (Halpern, J.), No. 7:22-cv-9370

     PLAINTIFF-APPELLANT’S OPENING BRIEF

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                            INTRODUCTION

  If the right to free speech includes anything, it includes the right to

engage in peaceful, face-to-face conversations on important matters in a

public forum. Yet that is exactly what Westchester County has banned—
prohibiting citizens from approaching others in public fora near abortion

clinics to peacefully offer information about alternatives to abortion, un-

less they first obtain consent.
  Plaintiff Debra Vitagliano is a Westchester County resident who be-

lieves in the dignity of all human life, including the unborn. She seeks to

engage in sidewalk counseling outside a White Plains abortion clinic—
that is, to stand on the public way, approach women entering the clinic,

and initiate gentle, compassionate conversation about the woman’s situ-

ation and available resources should she choose to carry her child to term.

  Yet Westchester County does not want women to have this final op-

portunity to make a more informed decision. In June 2022, the County

passed a new law making it illegal, within 100 feet of an abortion clinic,

to “knowingly approach another person within” eight feet “for the pur-

pose of passing any material” or “engaging in oral protest, education, or

counseling,” “unless such other person consents.” Under this provision, a

paradigmatic example of First Amendment activity—walking up to a fel-

low citizen in a public place and engaging with her on an issue of public

concern—is a crime punishable by jail time.




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  If this Court were writing on a clean slate, the verdict would be clear:

this provision violates the First Amendment. The County’s ban undenia-

bly regulates speech based on its content, permitting approaches to en-

gage in speech involving some content—but not “protest, education, or
counseling.” And the provision is not even related to, much less necessary

for, maintaining clinic access or avoiding violence, given the numerous

other tools in the County’s toolbox for directly promoting those ends,
many of which appear in other subsections of the same law.

  Unfortunately, this Court is not writing on a clean slate: twenty-three

years ago, a divided Supreme Court upheld a materially identical law in
Hill v. Colorado, 530 U.S. 703 (2000). But Hill was an aberration at the

time and is irreconcilable with intervening cases. A majority of the Su-

preme Court recently described it as a “distort[ion]” of “First Amendment

doctrines.” Dobbs v. Jackson Women’s Health Org., 142 S. Ct. 2228, 2276

& n.65 (2022). Even the County knows Hill is on unsure footing, passing

the law here only after the County Attorney warned that “hopefully our

legislation never gets to the Supreme Court” because “we know what the

Supreme Court would rule.”

  Plaintiff filed this case to vindicate her rights and right Hill’s wrong.

In granting the County’s motion to dismiss, the district court correctly

recognized that Hill controls. But it introduced a wrinkle, sua sponte

holding that Plaintiff lacked standing.




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  The district court’s standing holding was erroneous. Plaintiff’s com-

plaint unambiguously alleges “an intention to engage in” prohibited side-

walk counseling—which is all Article III requires. Indeed, Plaintiff has

expended significant resources learning how to engage in effective side-
walk counseling, completing multiple training classes and becoming a

volunteer as a life consultant at a crisis pregnancy center. Plaintiff has

identified in painstaking detail the way in which she intends to sidewalk
counsel, including specific language she intends to employ. And she has

further alleged that she is “[n]ow … prepared to engage in sidewalk coun-

seling” and that she would do so “[b]ut for” the County’s law. Under set-
tled precedent, that more than suffices.

  This Court should reverse the district court’s standing holding. On the

merits, this Court, like the district court, is bound by Hill. But under a

proper First Amendment analysis, the County’s law is unconstitutional.

                  JURISDICTIONAL STATEMENT

  The district court had subject-matter jurisdiction under 28 U.S.C.

§§ 1331 and 1343 because this action arises under the First Amendment

and 42 U.S.C. § 1983. The district court erred in holding that Plaintiff’s

complaint failed to establish Article III standing.

  This Court has jurisdiction under 28 U.S.C. § 1291. The district court

issued an opinion and final judgment dismissing Plaintiff’s complaint on

January 3, 2023. App.36-44. Plaintiff noticed this appeal the next day.
App.45; see Fed. R. App. P. 4(a)(1)(A).


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                      STATEMENT OF THE ISSUES

I.      Whether Plaintiff possesses Article III standing to bring this pre-

        enforcement action challenging the constitutionality of Westchester

        County’s ban on sidewalk counseling.
II.     Whether Westchester County’s ban on sidewalk counseling violates

        the First Amendment as a content-based restriction on speech that

        cannot satisfy strict, or even intermediate, scrutiny.

                       STATEMENT OF THE CASE

      This appeal arises from a pre-enforcement First Amendment chal-

lenge to a provision of a recently enacted Westchester County law that

prohibits sidewalk counseling outside abortion clinics. The district court

dismissed the complaint on two grounds, under Rules 12(b)(1) and (6).

Vitagliano v. County of Westchester, No. 7:22-cv-9370, 2023 WL 24246
(S.D.N.Y. Jan. 3, 2023) (Halpern, J.). First, the district court sua sponte

determined that Plaintiff’s complaint fails to establish Article III stand-

ing. App.39-40. Second, the district court held that Plaintiff’s claims fail

as a matter of law under Hill. App.41-42.




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    A. Factual background 1
      1. Plaintiff and her pro-life activities

    Plaintiff Debra Vitagliano is a sixty-four-year-old mother of three.

App.4 ¶16. She has worked as an occupational therapist, primarily with
special needs children, for forty-two years. App.4 ¶¶17-18. Her work has

led her to recognize the inherent worth and dignity of all people, no mat-

ter their level of functioning. App.5 ¶19.
    Debra is a devout, practicing Catholic. App.5 ¶20. Consistent with her

Catholic faith, Debra opposes the practice of abortion, believing it is the

deliberate taking of innocent human life. App.5 ¶¶21-22; see Catechism
of the Catholic Church ¶¶ 2270-71. Two years ago, Debra felt called spir-

itually to live out her faith by getting involved in the pro-life movement.

App.5 ¶23.

    In February 2021, Debra began participating in a peaceful prayer vigil

at the Planned Parenthood abortion clinic in White Plains, New York.

App.5 ¶24. As part of the vigil, she would stand and pray on the sidewalk
and public way outside the clinic. App.6 ¶26. Debra observed other par-

ticipants engage in sidewalk counseling, approaching women on their

way into the clinic, speaking with them about their pregnancies, and dis-

tributing pamphlets. App.6 ¶27.

1  Because this appeal arises from the grant of a motion to dismiss, the
facts are taken from Plaintiff’s complaint and must be accepted as true.
Yamashita v. Scholastic Inc., 936 F.3d 98, 100 n.2 (2d Cir. 2019) (per cu-
riam).

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    Debra felt called to engage in sidewalk counseling. App.6 ¶28. She

feels women who seek abortions are often not fully informed of the proce-

dure and their options. App.6 ¶28. She views sidewalk counseling as a

final attempt to change pregnant women’s hearts and to save innocent
unborn lives. App.6 ¶28. She wants to educate women, inform them of

their alternatives to abortion, and advise them of resources available to

them if they carry their babies to term. App.6 ¶28. 2

      2. Plaintiff’s intent to engage in sidewalk counseling

    Debra did not immediately engage in sidewalk counseling because she

felt she first needed proper training. App.6 ¶29. She wanted to learn tech-
niques for approaching pregnant women, what to say to them, and how

to respond to different circumstances she might encounter. App.6 ¶29.

    So Debra obtained that training—rendering her now fully prepared to
engage in sidewalk counseling and effectively help women in need. App.7

¶35. She first completed multiple online classes on counseling pregnant



2  Academic studies show that many women seek abortions for reasons
that may make them receptive to information about alternatives and re-
sources available to them. See, e.g., Lawrence B. Finer et al., Reasons
U.S. Women Have Abortions: Quantitative and Qualitative Perspectives,
37 Persps. on Sexual & Reprod. Health 110, 113 (2005) (reasons given for
abortion: “Can’t afford a baby now,” 73%; “Don’t want to be a single
mother or having relationship problems,” 48%; “Husband or partner
wants me to have an abortion,” 14%); M. Antonia Biggs et al., Under-
standing Why Women Seek Abortions in the US, BMC Women’s Health
13:29, at 5-6 (2013) (reasons given for abortion: “Financial reasons,” 40%;
“Not the right time for a baby,” 36%; “Partner-related reasons,” 31%).

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women who are considering abortion. App.7 ¶30. She planned to use the

knowledge she gained in these classes to engage in sidewalk counseling.

App.7 ¶30. In spring 2022, Debra requested and received pamphlets from

local organizers, which she planned to distribute while sidewalk counsel-
ing. App.7 ¶31.

  Debra then started volunteering as a “life consultant” at a local crisis

pregnancy center. App.7 ¶32. Life consultants meet with women experi-
encing unplanned pregnancies and discuss their options and available

resources. App.7 ¶32. Debra first shadowed life consultants in their meet-

ings with pregnant women so she could see the training she received in
her classes put into action. App.7 ¶33. Debra now volunteers as a life

consultant on a weekly basis. App.7 ¶34.

  These classes and experiences properly trained Debra to engage in

sidewalk counseling. App.7 ¶35. She is “[n]ow … prepared to engage in

sidewalk counseling” and “would” do so “[b]ut for” the County’s law at

issue in this litigation. App.7 ¶35; App.15 ¶65.

  Debra seeks to counsel pregnant women on the public way as they ap-

proach the White Plains Planned Parenthood. App.7 ¶35. Consistent

with her training, Debra would explore the details of each woman’s story

and pregnancy through active listening. App.7-8 ¶36. She would seek to

learn what is leading the woman to consider abortion, asking about her

needs and the attitudes and responses of her family, friends, and the
child’s father. App.7-8 ¶¶36-37.


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  The complaint explains how Debra intends to initiate conversation by

saying, “You are not alone. We can help you” (or words to similar effect).

App.8 ¶37. She would inform the woman that there are people who will

love and care for her and her child. App.8 ¶37. Next, Debra would share
with the woman information about other options to consider. App.9 ¶40.

Drawing on her experience as a mother (and, if appropriate, as an occu-

pational therapist), she would seek to offer the woman a vision for a fuller
life with her child. App.9 ¶¶40-41. Debra would then offer the woman a

pamphlet containing information for resources available to her if she car-

ries her child to term. App.9 ¶42.
  After Debra had begun her training and acquired pamphlets from local

organizers, but before she could begin sidewalk counseling outside the

White Plains Planned Parenthood, Westchester County passed a law that

prohibits her intended sidewalk-counseling ministry. App.9 ¶43.

     3. The County’s law banning sidewalk counseling

  In June 2022, Westchester County enacted the Reproductive Health

Care Facilities Access Act (the “Act”). Laws of Westchester County §§ 425

et seq.; see infra Addendum. The purpose of the Act is to “prohibit inter-

ference with accessing reproductive health care facilities and obtaining

reproductive health care services.” Id. § 425.11.

  Section 425.31(i) of the Act (the “Sidewalk Counseling Ban”) makes it

unlawful for any person to




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     knowingly approach another person within eight (8) feet of
     such person, unless such other person consents, for the pur-
     pose of passing any material, item, or object to, displaying a
     sign to, or engaging in oral protest, education, or counseling
     with such other person in the public way within a radius of
     one-hundred (100) feet from any door to a reproductive health
     care facility.
Id. § 425.31(i). “Approach” is defined as “to move nearer in distance to

someone.” Id. § 425.21(a). “Eight (8) feet” is “measured from the part of a

person’s body that is nearest to the closest part of another person’s body,

where the term ‘body’ includes any natural or artificial extension of a

person, including, but not limited to, an outstretched arm.” Id.

§ 425.21(b). And “reproductive health care facility” is defined as “any
building, structure, or place, or any portion thereof, at which licensed,

certified, or otherwise legally authorized persons provide reproductive

health care services,” with “reproductive health care services” in turn de-
fined to include “services relating to pregnancy or the termination of a

pregnancy.” Id. § 425.21(k)-(l).

  Violations of the Sidewalk Counseling Ban are criminal misdemeanors

punishable by fines and imprisonment. Id. § 425.41. A first conviction is

punishable by a fine up to $1,000 and imprisonment up to six months; a

second and each subsequent conviction is punishable by a fine up to

$5,000 and imprisonment up to one year. Id. In addition, the Act provides

for civil enforcement actions for injunctive relief by the County Attorney.

Id. § 425.61. It also provides for private civil actions for treble damages



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by “any person whose ability to access the premise of [an abortion clinic]

has been interfered with,” or by “any” “owner,” “operator,” “employee,”

“volunteer,” and “invitee” of the abortion clinic. Id. § 425.51.

  In addition to the Sidewalk Counseling Ban, the Act includes eight
other restrictions on activities near abortion clinics, none challenged

here. These other restrictions prohibit, inter alia, obstructing access; vi-

olence and any other unwanted physical contact; following and harass-
ing; threats and intimidation; and “interfer[ing] with” (or attempting to

interfere with) an abortion clinic’s operations. Id. § 425.31(a)-(h). The Act

is set out verbatim in the Addendum below.
     4. The Sidewalk Counseling Ban’s impact on Plaintiff

  The Sidewalk Counseling Ban prohibits Debra’s intended sidewalk-

counseling ministry. App.11 ¶50. Her intended ministry requires initiat-

ing conversations when women are approaching the clinic. App.11 ¶51.

But the Sidewalk Counseling Ban’s 100-foot radius from the door of the

White Plains Planned Parenthood encompasses the entire public side-

walk and the street on both sides of the driveway leading into the parking

lot. App.11 ¶51. Debra thus cannot effectively sidewalk counsel outside

the 100-foot radius. App.11 ¶51.

  Debra’s only options, then, are to raise or amplify her voice at women

from eight feet away or to request explicit consent to approach to discuss

abortion and to pass literature. App.11 ¶52. But neither lets Debra effec-
tively carry out her intended ministry.


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  It is critical to Debra’s intended ministry that she approach women

within eight feet and within arm’s reach to initiate conversations and to

distribute pamphlets. App.8 ¶38; App.11-12 ¶53. The sensitivity of the

discussion and the need for careful attention and eye contact require this
close approach. App.8 ¶38; App.11-12 ¶53. To effectively sidewalk coun-

sel, Debra must pay close attention to the woman’s every word and body

language, ask personal open-ended questions, and observe and listen for
contradictions or ambivalence to understand the woman’s situation and

concerns more deeply. App.8 ¶38; App.11-12 ¶53. The close approach is

even more necessary given the noisy setting, as the White Plains Planned
Parenthood is located off a four-lane highway near an exit ramp from the

interstate (I-287). App.8 ¶38.

  Debra cannot begin her intended sidewalk counseling by requesting

permission to approach. App.8 ¶39; App.12 ¶54. Such a request would

not only cut into her brief and valuable window to communicate but also

undermine her message, as Debra believes pregnant women are more

likely to respond positively when the first words they hear are a loving

message of sympathy and support. App.8 ¶39; App.12 ¶54. And such a

request can easily be ignored, especially when voiced from eight feet away

or when a woman is arriving at the clinic by car. App.8 ¶39; App.12 ¶54.




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    B. Proceedings below

    Because the Sidewalk Counseling Ban prohibits her intended activity,

see App.15 ¶¶64-65, Debra filed this suit on November 1, 2022. 3 She as-

serted one cause of action: the Sidewalk Counseling Ban is an unconsti-
tutional content-based restriction on speech that cannot survive strict, or

even intermediate, scrutiny. App.18-22 ¶¶79-97. The complaint acknowl-

edged that the Supreme Court upheld a materially identical law banning

sidewalk counseling in Hill v. Colorado, but argued that Hill was wrongly

decided, is irreconcilable with intervening Supreme Court precedent, and

should be overruled by the Supreme Court. App.2-3 ¶¶6-7; App.22 ¶98.
    The County filed a pre-motion letter requesting a conference in con-

nection with its anticipated motion to dismiss. App.29. The County ar-

gued for dismissal on the sole ground that “Hill is directly on point and
binding here, and remains controlling precedent.” App.30. It did not con-

test Plaintiff’s standing to challenge the Sidewalk Counseling Ban or oth-

erwise dispute jurisdiction. See App.29-31.

    In response, Plaintiff reiterated her position that Hill was wrongly de-

cided and should be overruled by the Supreme Court but acknowledged



3  Debra sued the County of Westchester, County Executive George Lat-
imer, and County Attorney John M. Nonna. App.3-4 ¶¶12-14. After the
County stipulated that, inter alia, Latimer and Nonna would be “bound
by and subject to any injunction or declaratory judgment Plaintiff obtains
against the County in this action,” the parties agreed to drop them from
the case. App.24-28.

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that “Hill remains binding on [the district court] and forecloses her

claims.” App.32, 35. Because she would have to seek any relief before the

Supreme Court, she noted the district court could “dispense with formal

briefing, treat [the County’s] pre-motion letter as the motion, and dispose
of it,” as contemplated by the court’s individual practice rules. App.35.

  The district court proceeded to do so, issuing a dispositive opinion and

order without further briefing on January 3, 2023. App.36. But the dis-
trict court did not limit itself to acknowledging that Hill controls. Instead,

although the County had never disputed standing, and despite receiving

no briefing or argument on the subject, the district court sua sponte held
that Plaintiff “fail[ed] to establish Article III standing” to challenge the

Sidewalk Counseling Ban. App.40.

   The court reasoned that Plaintiff “has never engaged in sidewalk coun-

seling” and “does not allege any concrete plans to do so at any point in

the future.” App.40. The court characterized Plaintiff’s “concerns” as

“nothing more than abstract, subjective fears that her rights are chilled.”

App.40 (cleaned up). In support of this claim, the court stated, “Plaintiff

mentions that she would need ‘proper training’ before she would even

consider sidewalk counseling.” App.40. But the court overlooked the com-

plaint’s explicit allegations that Plaintiff is “[n]ow properly trained” and

“prepared to engage in sidewalk counseling.” App.6-7 ¶¶29-35.

   The district court also addressed the merits, holding that Hill “fore-
closes Plaintiff’s claims as a matter of law and provides a separate and


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independent basis for the dismissal of the Complaint.” App.42. Because

the Sidewalk Counseling Ban is “[j]ust like the law upheld in Hill,” the

court held that Plaintiff’s action is “foreclosed by directly relevant Su-

preme Court precedent.” App.41-42.
                  SUMMARY OF THE ARGUMENT

  The district court dismissed the complaint on two grounds: (1) stand-

ing; and (2) the merits. The district court’s standing holding is incorrect
and should be reversed. On the merits, the district court correctly recog-

nized that the Supreme Court in Hill upheld a law materially identical

to the Sidewalk Counseling Ban. But Hill was wrongly decided, is irrec-
oncilable with intervening precedent, and should be overruled by the Su-

preme Court.

  I. Plaintiff has standing to bring this lawsuit. Where, as here, a plain-

tiff challenges a law as unconstitutional before the law is enforced

against her, courts apply a three-prong test to assess whether she has

established a cognizable injury in fact. The plaintiff must allege (1) “an

intention to engage in a course of conduct arguably affected with a con-

stitutional interest”; (2) that her intended conduct is “proscribed by” the

challenged law; and (3) that “there exists a credible threat of prosecution

thereunder.” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 159-64

(2014).

  Applying this test here, all three elements are easily met. Plaintiff’s
intended conduct—approaching women on their way into an abortion


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clinic and attempting to educate and counsel them about alternatives to

abortion—is core First Amendment activity and thus affected with a con-

stitutional interest. That conduct is not arguably but actually proscribed

under the plain terms of the Sidewalk Counseling Ban, as the County
and district court acknowledged below. And because the County just en-

acted the Sidewalk Counseling Ban in 2022, has never disavowed an in-

tent to enforce it, and has vigorously defended its legality in this litiga-
tion, Plaintiff’s “fear that the law will be enforced against” her is “actual

and well-founded.” Vt. Right to Life Comm., Inc. v. Sorrell, 221 F.3d 376,

382 (2d Cir. 2000). Having never questioned it below, the County cannot
seriously argue that Plaintiff lacks standing.

   The district court’s standing holding is wrong on both the law and the

facts. On the law, the district court faulted Plaintiff for failing to identify

a specific “point in the future” at which she had “concrete plans” to side-

walk counsel. But no case requires a plaintiff in the pre-enforcement con-

text to give a specific date and time when she will engage in proscribed

conduct, and the district court cited none. The question is simply whether

the plaintiff has “an intention to engage in” the proscribed “course of con-

duct.” Susan B. Anthony List, 573 U.S. at 159. Plaintiff here plainly does.

   On the facts, the district court repeatedly characterized Plaintiff as

having alleged that “she would need ‘proper training’ before she would

even consider sidewalk counseling.” App.40. But Plaintiff alleged no such




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thing. She alleged that she initially “needed” training but has since ob-

tained it—such that she is “[n]ow” “prepared to engage in sidewalk coun-

seling.” App.6-7 ¶¶29-35 (emphasis added). The district court’s demon-

strable misreading of the complaint vividly illustrates the error of its rul-
ing.

  Like injury in fact, the other standing elements—causation and re-

dressability—were undisputed below and are indisputable here. Plain-
tiff’s intended speech has been inhibited by the Sidewalk Counseling Ban

and would be uninhibited if her First Amendment claims succeed. Plain-

tiff has standing to challenge the Sidewalk Counseling Ban.
  II.   On the merits, the district court was correct that this case is con-

trolled by Hill. But while Hill remains binding for now, it should not for

long. Hill “distorted First Amendment doctrines.” Dobbs, 142 S. Ct. at

2276 & n.65. And even if Hill means Plaintiff “must seek relief in the

High Court,” rather than here, this Court should not hesitate to recognize

the “incongruity between Hill and the [Supreme] Court’s current juris-
prudence,” Price v. City of Chicago, 915 F.3d 1107, 1118-19 (7th Cir.

2019)—particularly given the dire urgency of the speech that Hill per-

mits governments like the County to suppress, see, e.g., Stenberg v. Car-

hart, 530 U.S. 914, 920 (2000) (“Millions of Americans believe that … an

abortion is akin to causing the death of an innocent child.”).

  Absent Hill, the First Amendment analysis here would be straightfor-
ward. Laws that restrict speech based on “its communicative content”


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trigger strict scrutiny. Reed v. Town of Gilbert, 576 U.S. 155, 163 (2015).

The Sidewalk Counseling Ban is content based on its face. The ban on

“approach[es]” depends on what the person approaching intends to say.

See Laws of Westchester County § 425.31(i). If she approaches to “pass[]
any material,” display a sign, or “engag[e] in oral protest, education, or

counseling,” id., she has committed an offense. If she approaches to en-

gage in speech for any other purpose—for example, to ask for the time,
for directions, or for bus fare—she has not.

   The Sidewalk Counseling Ban therefore must face strict scrutiny—the

most rigorous level of constitutional review. But the Ban cannot survive
even intermediate scrutiny, making the answer on strict scrutiny follow

a fortiori.

   If the County wishes to promote access to abortion and to combat vio-

lence outside clinics, it has many options for doing so. These options may

be pursued without criminalizing the paradigmatic First Amendment ac-

tivity at issue here—walking up to someone on a public way, talking

about a topic of public concern, and offering a pamphlet. Indeed, given

the numerous other restrictions the County enacted in the same law of

which the Sidewalk Counseling Ban is a part, the only additional func-

tion served by the Sidewalk Counseling Ban is prohibiting peaceful, non-

obstructive speech aimed simply at persuading and informing.




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   That may be exactly the County’s true purpose. But while violence and

obstruction of course may be forbidden, sidewalk counselors have a fun-

damental right to attempt to peacefully “persuade” a fellow citizen “to

change her mind and heart.” Hill, 530 U.S. at 757 (Scalia, J., dissenting).
The Sidewalk Counseling Ban violates the First Amendment.

                        STANDARD OF REVIEW

   This Court reviews de novo a district court’s dismissal of a complaint
for lack of standing pursuant to Rule 12(b)(1) and for failure to state a

claim pursuant to Rule 12(b)(6). Allco Fin. Ltd. v. Klee, 861 F.3d 82, 94

(2d Cir. 2017). The Court “accept[s] the allegations in the complaint as
true and draw[s] all reasonable inferences in favor of the plaintiff.”

Palmer v. Amazon.com, Inc., 51 F.4th 491, 503 (2d Cir. 2022).

   To withstand a Rule 12(b)(1) motion to dismiss for lack of standing,

the complaint must “allege[] facts that affirmatively and plausibly sug-

gest that the plaintiff has standing to sue.” Carter v. HealthPort Techs.,

LLC, 822 F.3d 47, 56 (2d Cir. 2016) (cleaned up). Likewise, to survive a

Rule 12(b)(6) motion to dismiss, the complaint “must contain sufficient

factual matter, accepted as true, to state a claim to relief that is plausible

on its face.” Melendez v. Sirius XM Radio, Inc., 50 F.4th 294, 298-99 (2d

Cir. 2022).




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                               ARGUMENT
I. Plaintiff has standing to challenge the Sidewalk Counseling
   Ban.
  Plaintiff seeks to engage in sidewalk counseling, but the Sidewalk

Counseling Ban prohibits that practice, threatening her with criminal

and civil penalties (jail time included) if she does so. Under settled prec-

edent, that gives her standing to challenge the Ban’s constitutionality.

The district court’s contrary conclusion was erroneous.
  “The requisite elements of Article III standing are well established: A

plaintiff must show (1) an injury in fact, (2) fairly traceable to the chal-

lenged conduct of the defendant, (3) that is likely to be redressed by the

requested relief.” FEC v. Cruz, 142 S. Ct. 1638, 1646 (2022). All three

requirements are easily met here.

  A. Plaintiff has established pre-enforcement injury in fact.
  The only standing requirement the district court disputed was injury

in fact. App.39. But, having raised standing sua sponte and lacking the

benefit of briefing or argument, the district court failed to apply the gov-

erning injury-in-fact test for pre-enforcement constitutional challenges

like this one. This case shows why “it is bad practice for a district court

to dismiss” on a ground on which the plaintiff has lacked “an opportunity

to be heard.” Int’l Code Council, Inc. v. UpCodes Inc., 43 F.4th 46, 53-54

(2d Cir. 2022).




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  In pre-enforcement cases, a “plaintiff need not first ‘expose himself to

liability before bringing suit.’” Picard v. Magliano, 42 F.4th 89, 97 (2d

Cir. 2022). Rather, the Supreme Court has established a three-part test

for injury in fact in such cases. Under this test, the plaintiff must allege
(1) “an intention to engage in a course of conduct arguably affected with

a constitutional interest” (2) that the “intended future conduct is ‘argua-

bly proscribed by [the] statute’” the plaintiff “wish[es] to challenge”; and
(3) that “there exists a credible threat of prosecution thereunder.” Susan

B. Anthony List, 573 U.S. at 159, 162.

  This test “sets a low threshold and is quite forgiving.” Picard, 42 F.4th
at 98. And the Supreme Court and this Court have repeatedly found it

met where it is “reasonable enough” for the plaintiff to fear that engaging

in her intended speech will lead to liability under the challenged statute.

Id. at 98-99; see also, e.g., Susan B. Anthony List, 573 U.S. at 163.

  The reason is simple: “most people are frightened of violating criminal

statutes.” Majors v. Abell, 317 F.3d 719, 721 (7th Cir. 2003). So “self-cen-

sorship” is “a harm that can be realized even without an actual prosecu-

tion.” Vt. Right to Life, 221 F.3d at 382. Moreover, without this “some-

what relaxed” standing test, Centro de la Comunidad Hispana de Locust

Valley v. Town of Oyster Bay, 868 F.3d 104, 110 (2d Cir. 2017), plaintiffs

would be required either to “refrain[] from activity they believe the First

Amendment protects, or risk civil or criminal penalties for violating the
challenged law”—an “unattractive set of options” not required by Article


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III, Nat’l Org. for Marriage, Inc. v. Walsh, 714 F.3d 682, 689 (2d Cir.

2013).

   Here, all three elements of injury in fact for a pre-enforcement chal-

lenge are satisfied—as the County never disputed below.
   First, Plaintiff’s intended conduct is arguably affected with a constitu-

tional interest. The complaint alleges that Plaintiff seeks to engage in

sidewalk counseling—that is, to “peacefully approach women entering
abortion clinics,” “speak with them about alternatives to abortion,” and

“offer … a pamphlet.” App.4 ¶15; App.9 ¶42; see also App.6 ¶28; App.7-9

¶¶35-42. Such “speech” is “certainly ‘affected with a constitutional inter-
est.’” Susan B. Anthony List, 573 U.S. at 162. Traditional public fora like

sidewalks and public ways “are areas that have historically been open to

the public for speech activities.” McCullen v. Coakley, 573 U.S. 464, 476

(2014). And “[l]eafletting and commenting on matters of public concern

are classic forms of speech that lie at the heart of the First Amendment.”

Id. at 488-89; see also, e.g., N.Y. State Nat’l Org. for Women v. Terry, 886

F.2d 1339, 1362-63 (2d Cir. 1989) (protecting speech outside abortion

clinics).

   Second, Plaintiff’s sidewalk counseling is proscribed by the challenged

law. This element merely requires that “the plaintiff’s intended conduct”

be “‘arguably proscribed’ by the challenged statute”; it need not be “in

fact proscribed.” Picard, 42 F.4th at 98. Here, however, Plaintiff’s in-
tended sidewalk counseling is not arguably but “clearly prohibited by”


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the Sidewalk Counseling Ban. Cayuga Nation v. Tanner, 824 F.3d 321,

331 (2d Cir. 2016) (emphasis added). Indeed, both the district court and

the County acknowledged as much below. See App.37 (district court: side-

walk counseling is “a practice that violates” the Ban); App.30 (County:
Plaintiff can counsel and offer pamphlets “as long as [these activities] are

not done while approaching within eight feet” without consent).

  The Sidewalk Counseling Ban makes it illegal, (1) within 100 feet of
an abortion clinic, (2) to “knowingly approach” within eight feet of an-

other person (3) absent the other person’s consent (4) “for the purpose of

passing any material … or engaging in oral protest, education, or coun-
seling.” Laws of Westchester County § 425.31(i). That is exactly what the

complaint alleges Plaintiff seeks to do:
  (1) stand “within the 100-foot radius” of the White Plains
      Planned Parenthood, since that radius encompasses “the en-
      tire public sidewalk” in front of the building and reaches well
      into the street on either side of the clinic’s driveway, App.11
      ¶51;
  (2) “approach within eight feet and within arm’s reach” of
      women entering the clinic, since she seeks to use a gentle
      tone of voice, initiate an intimate conversation, pass pam-
      phlets, and be heard over the nearby noisy roadway, App.8
      ¶38; App.11 ¶53;
  (3) not “begin by seeking permission,” since “[s]uch a request
      would cut into her valuable window to communicate, would
      be easily ignored, and would undermine her message,” App.8
      ¶39; App.12 ¶54; and
  (4) “educate women on abortion, inform them of alternatives,
      and advise them of services and resources available to them


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       if they carry their babies to term,” including by offering “a
       pamphlet or other literature,” App.6 ¶28; App.12 ¶53; see
       also App.7 ¶31; App.7-8 ¶36; App.8 ¶38; App.9 ¶¶41-42.
This conduct is unambiguously proscribed by the plain terms of the Side-

walk Counseling Ban.

  Finally, Plaintiff faces a credible threat of enforcement. This element
generally follows from the first two “as long as the relevant statute is

recent and not moribund.” Cayuga Nation, 824 F.3d at 331. That is,

“[w]here a statute specifically proscribes conduct, the law of standing
does ‘not place the burden on the plaintiff to show an intent by the gov-

ernment to enforce the law against it.’” Tweed-New Haven Airport Auth.

v. Tong, 930 F.3d 65, 71 (2d Cir. 2019). Rather, courts “generally … pre-

sume that the government will enforce the law,” Cayuga Nation, 824 F.3d

at 331, absent “a disavowal by the government or another reason to con-

clude that no such intent existed,” Tong, 930 F.3d at 71.
  Here, the Sidewalk Counseling Ban is plainly “recent and not mori-

bund,” Cayuga Nation, 824 F.3d at 331, as it was enacted just months

before Plaintiff filed this suit. And while the presumption of enforcement

may be rebutted if the defendant “disavow[s] … an intent[] to prosecute,”

id. at 331-32, the County has done nothing of the sort here, see Virginia

v. Am. Booksellers Ass’n, 484 U.S. 383, 393 (1988) (“The State has not

suggested that the newly enacted law will not be enforced, and we see no

reason to assume otherwise.”).




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  Far from it—the County has vigorously defended the Sidewalk Coun-

seling Ban’s legality, never hinting that it would not enforce the Ban. See

App.29-30. And committee meetings leading to the Act’s passage included

discussions about enforcement logistics, like the training of police. See
Joint Meeting of the Westchester County Legislature Committees on

Health and Legislation, at 14:47-16:04, 1:18:58-1:19:25, 1:48:00-1:48:50

(June 1, 2022), https://tinyurl.com/dxjv55hw; see also Goe v. Zucker, 43
F.4th 19, 29 (2d Cir. 2022) (“courts may take judicial notice of legislative

history” in ruling on motion to dismiss). In short, the County has come

nowhere close to assuring those who wish to engage in sidewalk counsel-
ing “that [they] will not be prosecuted if they do what they say they wish

to do.” Holder v. Humanitarian Law Project, 561 U.S. 1, 16 (2010). Ra-

ther, it has suggested the opposite.

  Further, the credible-threat showing is “bolstered” by the fact that au-

thority to enforce the Sidewalk Counseling Ban is not limited to County

officials but extends to “private complainant[s].” Susan B. Anthony List,

573 U.S. at 164-65. In addition to criminal prosecution and civil enforce-

ment actions by the County Attorney, the Act exposes Plaintiff to private

civil actions by “any person whose ability to access the premise of [an

abortion clinic] has been interfered with” or any abortion-clinic “owner,”

“operator,” “employee,” “volunteer,” and “invitee.” Laws of Westchester

County § 425.51. This only underscores the “real risk” of enforcement




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Plaintiff faces if she sidewalk counsels notwithstanding the Ban. Susan

B. Anthony List, 573 U.S. at 164.

   In short, Plaintiff “is not required either to pursue ‘arguably illegal

activity,’ or to expose [her]self to criminal liability before bringing suit to
challenge ‘the constitutionality of [a] law threatened to be enforced.’”

Knife Rights, Inc. v. Vance, 802 F.3d 377, 385 (2d Cir. 2015). Under the

test applicable “in the context of pre-enforcement challenges,” id. at 384,
she has established injury in fact.
   B. The district court’s injury-in-fact conclusion was erroneous.
   The district court failed to apply this long-established three-part test

for assessing injury in fact in the pre-enforcement context. See App.39-

40. And the district court’s reasons for finding lack of standing badly miss
the mark.

   The district court said Plaintiff lacked standing because she “only al-

leged, ‘in the most general fashion,’ that her exercise of free speech has

been chilled by” the Sidewalk Counseling Ban, without “alleg[ing] any

concrete plans to” sidewalk counsel “at any point in the future.” App.40.

Attempting to buttress this argument, the district court stated that

“Plaintiff mentions that she would need ‘proper training’ before she

would even consider sidewalk counseling.” App.40. (quoting Compl. ¶29).

   But a plaintiff asserting a pre-enforcement claim need only allege “an

intention to engage in a course of conduct.” Picard, 42 F.4th at 101. She

need not specify the exact date and time when she will engage in that


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conduct. And in any event, it is hard to see how the complaint could be

more “concrete” about Plaintiff’s intended speech.

    The complaint alleges exactly where Plaintiff seeks to sidewalk coun-

sel—at the White Plains Planned Parenthood. App.7 ¶35. It alleges the
genesis of Plaintiff’s desire to sidewalk counsel—her participation in

prayer vigils and observation of others sidewalk counseling at the clinic.

App.5-6 ¶¶24-28. It details exactly how Plaintiff intends to sidewalk
counsel—by “ask[ing] open-ended questions”; “shar[ing] … other options”

the woman “might wish to consider”; “tell[ing] the woman that she is

made in the image and likeness of God”; “empower[ing her] to choose life”;
drawing on her training, “personal experiences as a mother” and “occu-

pational therapist,” and her work as a life consultant at a crisis preg-

nancy center; and offering “a pamphlet or other literature.” App.7-12

¶¶36-55. It even lists specific language Plaintiff intends to use to initiate

her sidewalk-counseling conversations—“You are not alone. We can help

you.” App.8 ¶37.4


4  See also, e.g., App.7-8 ¶36 (“She would ask about the woman’s needs,
strengths, and areas of awareness (feelings, thoughts, wants, values, and
beliefs), as well as the attitudes, feelings, and responses of the woman’s
parents and the unborn child’s father.”); App.8 ¶37 (“She would inform
the woman that there are people who will be there to love and care for
her and her child should she carry the child to term … .”); App.8 ¶38 (she
would “pay close attention to the woman’s every word and body language,
ask open-ended questions, interpret what she believes she is hearing, and
observe and listen for contradictions and ambivalence to understand
more deeply”).

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  To be sure, the complaint does not identify a date and time at which

Plaintiff will engage in sidewalk counseling if the Sidewalk Counseling

Ban is enjoined or declared unconstitutional. That is hardly surprising

given that Plaintiff could not possibly know in advance when the courts
will invalidate the Ban. In any event, “First Amendment plaintiffs gen-

erally need not state that they ‘have specific plans to engage in XYZ

speech next Tuesday’ in order to show standing.” Peck v. McCann, 43
F.4th 1116, 1131 (10th Cir. 2022). They simply must state a “present de-

sire” to engage in the proscribed speech, id. at 1130-32—as Plaintiff here

has, see App.15 ¶64 (“earnest desire to engage in sidewalk counseling
outside the White Plains Planned Parenthood”).

  That this intention is sufficiently “imminent,” Centro, 868 F.3d at 111,

is unmistakable. The complaint alleges that Plaintiff is “[n]ow … pre-

pared to engage in sidewalk counseling.” App.7 ¶35. It says she “intends,”

“seeks to,” and “would” do so “[b]ut for the Sidewalk Counseling Ban.”

App.1 ¶2; App.11 ¶53; App.15 ¶¶64-66. And it alleges that she has not

done so “because of the Sidewalk Counseling Ban,” App.15 ¶64—such

that her speech has already been “chill[ed],” App.15 ¶66.

  These are precisely the kind of allegations that have repeatedly been

held sufficient to establish pre-enforcement standing. In Davis v. FEC,

for example, the Supreme Court held that a plaintiff established standing

to challenge campaign disclosure requirements “by simply declaring his
intention to run for office and to spend more than the amount for which


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disclosure was required.” Centro, 868 F.3d at 111 (discussing Davis, 554

U.S. 724, 733-35 (2009)). In Humanitarian Law Project, the Court found

standing where the plaintiffs “claim[ed]” they “would provide” support to

foreign organizations “if the statute’s allegedly unconstitutional bar [on
that conduct] were lifted.” 561 U.S. at 15-16. And in Cayuga Nation, this

Court found standing where the plaintiffs “alleged that they intend to

conduct bingo games, which is clearly prohibited by the Ordinance.” 824
F.3d at 331. Further examples abound. 5

5  See, e.g., Babbitt v. United Farm Workers Nat’l Union, 442 U.S. 289,
301 (1979) (finding standing to challenge law arguably proscribing boy-
cotting campaigns where plaintiffs “have alleged in their complaint an
intention to continue to engage in boycott activities in that State”); Steffel
v. Thompson, 415 U.S. 452, 456 (1974) (finding standing where “Peti-
tioner alleged in his complaint that, although he desired to return to the
shopping center to distribute handbills, he had not done so because of his
concern that he, too, would be arrested for violation” of the statute chal-
lenged in the case); Picard, 42 F.4th at 95, 97-101 (finding standing
where plaintiff “state[d]” that “[a]bsent his fear of” the challenged law,
“he would continue to promote jury nullification outside New York court-
houses”); see also, e.g., Peck, 43 F.4th at 1131 (declining “to require cate-
gorically that … First Amendment plaintiffs know exactly what they
would say and when they want to say it in order to challenge a speech-
restrictive law”); Speech First, Inc. v. Fenves, 979 F.3d 319, 331 (5th Cir.
2020) (finding pre-enforcement standing where student plaintiffs alleged
that they “want[ed] to engage in … debate” and “want[ed] to speak” about
specific issues but were “‘afraid to voice their views out of fear that their
speech’ may violate University policies”); Italian Colors Rest. v. Becerra,
878 F.3d 1165, 1174 (9th Cir. 2018) (finding pre-enforcement standing
where business-owner plaintiffs “ma[de] clear that if it were legal to do
so, [they] would charge more for credit card purchases,” describing
“when, to whom, where, and under what circumstances they would do


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  None of these cases required the plaintiffs to say exactly when (date

or time) they would engage in proscribed conduct; they simply had to say

that they intended to or would do so but for the challenged law—as Plain-

tiff here has. And a specific-time-or-date requirement is especially un-
warranted in the procedural posture of this case, since “at the pleading

stage,” even “general factual allegations of injury resulting from the de-

fendant’s conduct may suffice.” John v. Whole Foods Mkt. Grp., Inc., 858
F.3d 732, 736 (2d Cir. 2017) (quoting Lujan v. Defs. of Wildlife, 504 U.S.

555, 561 (1992)).

  The district court nonetheless characterized Plaintiff’s injury as too
“abstract,” latching onto the notion that Plaintiff still “would need ‘proper

training’ before she would even consider sidewalk counseling.” App.40

(quoting Compl. ¶29). This idea was an apparent linchpin of the court’s

reasoning, appearing twice in its eight-page opinion. App.38, 40. And the

court even (mistakenly) raised it in a related case, stating, “I don’t recall

which plaintiff it was,” but “somebody—one of the plaintiffs indicat[ed]

that they needed more training or some such.” Transcript at 11:2-8, Hu-

linsky v. County of Westchester, No. 7:22-cv-6950 (S.D.N.Y. Jan. 18, 2023)

(Halpern, J.), ECF No. 67-1.

  The problem is that the district court’s premise is a demonstrable mis-

reading of the complaint. The complaint does not say Plaintiff “would


so: … at their stores, on their customers, when credit card surcharges are
legal” (cleaned up)).

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need ‘proper training’” to begin counseling. App.40 (emphasis added). It

says—past tense—that she “needed proper training,” App.6 ¶29 (empha-

sis added), which she then obtained. Indeed, the next five paragraphs of

the complaint after the one the district court cited specify how Plaintiff
“registered for and completed multiple online” training classes and

gained experience working as a life consultant at a crisis pregnancy cen-

ter. App.7 ¶¶30-34. The complaint then alleges—this time in the present
tense—“Now properly trained and with experience as a life consultant,

Debra is prepared to engage in sidewalk counseling.” App.7 ¶35 (empha-

sis added). It further alleges that she would do so “[b]ut for the Sidewalk
Counseling Ban.” App.15 ¶65; see also App.9 ¶43; App.15 ¶¶64, 66.

  So the district court’s understanding of the “training” allegations was

simply mistaken. In fact, that Plaintiff has taken these tangible steps to

learn how to engage in effective sidewalk counseling, has obtained pam-

phlets to distribute while sidewalk counseling, and has provided specific

examples of the language she intends to use while sidewalk counseling

only confirms the plausibility of her intent to sidewalk counsel. See, e.g.,

303 Creative LLC v. Elenis, 6 F.4th 1160, 1172 (10th Cir. 2021) (finding

standing because “[a]lthough Appellants have not yet offered wedding

website services, Ms. Smith has been employed as a graphic and web de-

signer in the past,” and “Appellants … provided clear examples of the

types of websites they intend to provide”), cert. granted in part, 142 S. Ct.
1106, argued (Dec. 5, 2022).


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   Neither of the cases cited by the district court supports its result. The

district court primarily relied on this Court’s decision in Walsh. App.40

(citing 714 F.3d at 688-90). But Walsh found standing for a pre-enforce-

ment First Amendment challenge and thus only supports Plaintiff here.
See 714 F.3d at 688-90. In Walsh, an advocacy organization brought a

pre-enforcement challenge to a law regulating “political committee[s],”

providing examples of advertisements it wanted to publish that it feared
would render it subject to the law. Id. at 685-86. This Court found stand-

ing because, “[c]omparing th[e] proposed advertisements” submitted by

the plaintiff “with the plain text of” the challenged law, the plaintiff
“plausibly contend[ed]” the ads could render it a “political committee.” Id.

at 690. So too here. Comparing Plaintiff’s intended speech with the plain

text of the Sidewalk Counseling Ban, Plaintiff’s intended conduct is not

just “plausibly” but obviously proscribed. See supra pp.21-23. Her injury

is therefore just as “real and imminent” (if not more) as the Walsh plain-

tiff’s. 714 F.3d at 689.

   The court also relied on a pre-Susan B. Anthony List district-court de-

cision, Kounitz v. Slaaten, 901 F. Supp. 650 (S.D.N.Y. 1995). App.40. But

Kounitz is not just non-binding but also entirely irrelevant, as the case

did not involve a pre-enforcement constitutional challenge to legislation

at all. See 901 F. Supp. at 654-55.

   Finally, the district court said, “Plaintiff admits … she has never en-
gaged in sidewalk counseling,” suggesting this was inconsistent with


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standing. App.40. But even setting aside Plaintiff’s extensive experience

with similar pro-life activities—like sidewalk vigils and life consulting,

see supra pp.5, 7—what matters is whether she “intends to” engage in

sidewalk counseling “in the future,” not whether she has done it in the
past. Thus, in 303 Creative, the Tenth Circuit found that plaintiffs who

had never before “offered wedding website services” had standing to chal-

lenge a requirement that wedding-website designers design for same-sex
weddings. 6 F.4th at 1171-72. And in Telescope Media Group v. Lucero,

the Eighth Circuit found that plaintiffs who had not yet “enter[ed] the

wedding-video business” had standing to challenge a requirement that
wedding videographers film for same-sex weddings. 936 F.3d 740, 749-50

(8th Cir. 2019). The district court failed to cite a single case holding oth-

erwise.

  Plaintiff has adequately alleged injury in fact. The district court’s con-

trary holding was incorrect.

  C. Plaintiff has established causation and redressability.

  With injury in fact established, the remaining standing elements—

causation and redressability—are straightforward. See Cruz, 142 S. Ct.

at 1646. Neither the district court nor the County disputed them.

  First, Plaintiff’s injury—her inability to engage in sidewalk counseling

at the White Plains abortion clinic—is obviously “fairly traceable to the

challenged conduct of the defendant.” Id. If there were no Sidewalk Coun-




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seling Ban, Plaintiff could freely engage in her intended sidewalk-coun-

seling ministry without fear of penalties or prison. As the Supreme Court

has “made clear,” “an injury resulting from the application or threatened

application of an unlawful enactment [is] fairly traceable to such appli-
cation.” Id. at 1647. That principle controls here.

   Second, Plaintiff’s injury is “likely to be redressed by the requested

relief.” Id. at 1646. If the Court grants the relief sought in Plaintiff’s com-
plaint—such as an order enjoining application of the Sidewalk Counsel-

ing Ban or a declaration that it is unconstitutional, App.22—then the

Sidewalk Counseling Ban will no longer inhibit her speech. See Cayuga
Nation, 824 F.3d at 332 (favorable decision “may redress the injury al-

leged in the complaint by preventing the Village from enforcing the Or-

dinance against the plaintiffs, which is all that is required to establish

Article III standing”). And Plaintiff further seeks nominal and compen-

satory damages, App.22, which would “independently provide redress,”

Uzuegbunam v. Preczewski, 141 S. Ct. 792, 801 (2021).

                                   * * *

   Plaintiff has standing to challenge the Sidewalk Counseling Ban. The

district court’s contrary holding should be reversed.

II. The Sidewalk Counseling Ban violates the First Amendment.

   On the merits, the district court was right that this case is (for now)

controlled by Hill. But Hill is wrong, irreconcilable with intervening prec-
edent, and ripe for overruling by the Supreme Court—and this Court


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should not hesitate to say so. See Price, 915 F.3d at 1110-19. Under the

correct First Amendment analysis, the Sidewalk Counseling Ban is un-

constitutional.

  A. Hill applies here.
  The district court was right that it was bound by Hill to reject Plain-

tiff’s claims. At issue in Hill was a Colorado law that made it unlawful,

within 100 feet of an abortion-clinic entrance, to “knowingly approach”
within eight feet of another person “for the purpose of passing a leaflet or

handbill to, displaying a sign to, or engaging in oral protest, education,

or counseling,” without that person’s consent. 530 U.S. at 707 n.1 (quot-
ing Colo. Rev. Stat. § 18-9-122(3)). As here, the law was challenged by

sidewalk counselors who claimed it violated the First Amendment. Id. at

708-09. Yet the Supreme Court upheld the law, determining it was “con-

tent neutral” and satisfied intermediate scrutiny. Id. at 719-30.

  The County’s Sidewalk Counseling Ban was modeled after the law ap-

proved in Hill. See Board of Legislators Meeting Agenda at 26 (June 27,

2022), https://perma.cc/E26U-W3GQ. And although the Sidewalk Coun-

seling Ban is in some ways more targeted and restrictive—for example,

the Hill law applied to all “health care facilities,” while the Sidewalk

Counseling Ban applies only to “reproductive health care facilit[ies],”

§ 425.31(i) (emphasis added)—these differences are immaterial under

Hill’s blunt-instrument reasoning. See Hill, 530 U.S. at 724-25 (even if a
law “was obviously enacted in response to the activities of antiabortion


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protestors,” it can remain “content neutral”); see also Agostini v. Felton,

521 U.S. 203, 237-38 (1997) (“[I]f a precedent of this Court has direct ap-

plication in a case, yet appears to rest on reasons rejected in some other

line of decisions, the Court of Appeals should follow the case which di-
rectly controls, leaving to this Court the prerogative of overruling its own

decisions.” (cleaned up)). Thus, Hill “remains binding” for now and sup-

ports the district court’s dismissal. Price, 915 F.3d at 1109.
  B. Hill was wrongly decided, is irreconcilable with intervening
     precedent, and should be overruled by the Supreme Court.
  But that does not mean Hill was right. Far from it. As a majority of

the Supreme Court last year recognized, Hill “distorted First Amend-

ment doctrines.” Dobbs, 142 S. Ct. at 2276 & n.65. Worse, it did so in a
context involving extraordinarily high stakes, silencing speech that (in

the view of sidewalk counselors and many other Americans) could make

the difference between a woman choosing to preserve or to end another

human life. See McIntyre v. Ohio Elections Comm’n, 514 U.S. 334, 347

(1995) (“Urgent, important, and effective speech” receives the “greate[st]

constitutional protection”); see also, e.g., Planned Parenthood of Se. Pa.

v. Casey, 505 U.S. 833, 882 (1992) (plurality opinion) (“ensur[ing] that a

woman apprehend the full consequences of her decision … furthers the

legitimate purpose of reducing the risk that a woman may elect an abor-

tion, only to discover later, with devastating psychological consequences,




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that her decision was not fully informed”), overruled on other grounds by

Dobbs, 142 S. Ct. 2228. Hill must be reconsidered.

     1. Hill was wrongly decided.

  Hill flouted established First Amendment doctrine the day it was de-
cided. Start with content neutrality. Under the First Amendment, laws

that are “content based”—that is, laws that “suppress, disadvantage, or

impose differential burdens upon speech because of its content”—are sub-
ject to “the most exacting scrutiny.” Turner Broad. Sys., Inc. v. FCC, 512

U.S. 622, 642 (1994). These laws “are presumptively invalid,” R.A.V. v.

City of St. Paul, 505 U.S. 377, 382 (1992), surviving only if they “promote
a compelling interest” and use “the least restrictive means to further the

articulated interest,” Sable Commc’ns. of Cal., Inc. v. FCC, 492 U.S. 115,

126 (1989). Content-neutral laws, meanwhile, “are subject to an interme-

diate level of scrutiny.” Turner, 512 U.S. at 642. Even these laws must be

“narrowly tailored to serve a significant governmental interest.” Ward v.

Rock Against Racism, 491 U.S. 781, 791 (1989).

  The Hill law was content based on its face. As with the Sidewalk Coun-

seling Ban, the law’s ban on unconsented approaches by its terms applied

only if the intended speech contained certain content—“protest, educa-

tion, or counseling.” In other words, “[w]hether a speaker must obtain

permission before approaching within eight feet” turned “entirely on

what he intends to say when he gets there.” Hill, 530 U.S. at 742 (Scalia,
J., dissenting). Such a rule is “undeniably content based.” Id.


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   Yet the Hill Court elided the question whether the law was content

based on its face. Instead, the Court looked to the government’s purpose

in enacting the law, holding that the content-neutrality inquiry depended

on whether the “government has adopted a regulation of speech because
of disagreement with the message it conveys.” Id. at 719 (majority opin-

ion) (cleaned up). Applying this test, the Court held the law was content

neutral, since the Colorado legislature’s motive was not to suppress pro-
life speech but to “protect listeners from unwanted communication.” Id.

at 714-20.

   Even taking this test as the right one, the Court’s conclusion was de-
batable. See id. at 767 (Kennedy, J., dissenting) (“We would close our eyes

to reality were we to deny that ‘oral protest, education, or counseling’

outside the entrances to medical facilities concern a narrow range of top-

ics—indeed, one topic in particular.”). More to the point, the Court had

never held that a legislature’s having a content-neutral motive could res-

cue a facially content-based law from heightened scrutiny. Rather, it had

held the opposite—that “the mere assertion of a content-neutral purpose”

is not “enough to save a law which, on its face, discriminates based on

content.” Turner, 512 U.S. at 642-43. In other words, contrary to Hill,

“[i]llicit legislative intent is not the sine qua non of a violation of the First

Amendment.” Simon & Schuster, Inc. v. Members of the N.Y. State Crime

Victims Bd., 502 U.S. 105, 117 (1991).




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  Equally unmoored from precedent was the Hill Court’s application of

intermediate scrutiny. Having deemed the law content neutral, the Court

proceeded to ask whether it served a “significant and legitimate” govern-

mental interest and was “narrowly tailored” to that end. 530 U.S. at 725.
The Court answered yes to both questions. The law served the allegedly

legitimate and important interest in “protect[ing] listeners from un-

wanted communication.” Id. at 715-18. And although the law was con-
cededly “prophylactic”—forbidding even approaches that ultimately

“would have proved harmless”—that cut in its favor, since its “bright-

line … rule” offered “clear guidance” for enforcement. Id. at 729-31.
  Yet both these holdings departed from settled principles. Never had

the Court recognized the claimed interest—a “right to be free from un-

wanted speech when on the public streets and sidewalks”—to be signifi-

cant or even legitimate. Id. at 752 (Scalia, J., dissenting). To the contrary,

the Court had previously held that when faced with the prospect of un-

wanted speech in a public forum, “the burden normally falls” on the lis-

tener to plug his ears or “avert [his] eyes.” Erznoznik v. City of Jackson-

ville, 422 U.S. 205, 210-11 (1975). This principle, the Court had said, was

necessary “to provide adequate breathing space to the freedoms protected

by the First Amendment.” Boos v. Barry, 485 U.S. 312, 322 (1988)

(cleaned up). Three years before Hill, the Court had even applied this

reasoning specifically in the context of speech outside abortion clinics,




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rejecting any alleged “right of the people approaching and entering [abor-

tion] facilities to be left alone.” Schenck v. Pro-Choice Network of W. N.Y.,

519 U.S. 357, 383 (1997).

  Moreover, the notion that it is a feature, and not a bug, for a speech
regulation to be “prophylactic” was likewise an innovation. Cf. Hill, 530

U.S. at 729. Rather, the Court had long explained that “[p]recision of reg-

ulation must be the touchstone in an area so closely touching our most
precious freedoms.” NAACP v. Button, 371 U.S. 415, 438 (1963). “Prophy-

laxis” may be acceptable outside the First Amendment context, but it is,

as a matter of language and logic, “the antithesis” of the “narrow tailor-
ing” required for laws infringing speech. Hill, 530 U.S. at 762 (Scalia, J.,

dissenting).

  Hill’s errors were widely recognized, leading it to be “condemned by

progressive and conservative legal scholars alike.” Alan K. Chen, Statu-

tory Speech Bubbles, First Amendment Overbreadth, and Improper Leg-

islative Purpose, 38 Harv. C.R.-C.L. L. Rev. 31, 31 (2003). Professor Mi-

chael McConnell remarked that while the Supreme Court in Hill “said

that this statute is content-neutral[,] I just literally cannot see how they

could possibly come to that conclusion.” Colloquium, Professor Michael

W. McConnell’s Response, 28 Pepp. L. Rev. 747, 748 (2001). Professor

Laurence Tribe agreed, stating, “I don’t think [Hill] was a difficult case.

I think it was slam-dunk simple and slam-dunk wrong.” Id. at 750. And




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Professor Richard Fallon explained that in Hill, the Court “unconvinc-

ingly … maintain[ed] that a content-based restriction on speech is not re-

ally content-based.” Richard H. Fallon, Jr., Strict Judicial Scrutiny, 54

UCLA L. Rev. 1267, 1298 (2007).
     2. Hill is irreconcilable with intervening precedent.

  In the two decades since Hill was decided, the Supreme Court’s “inter-

vening decisions have eroded Hill’s foundation.” Price, 915 F.3d at 1111.
Specifically, in two recent watershed First Amendment decisions—

McCullen v. Coakley and Reed v. Town of Gilbert—the Supreme Court

rejected each of the core premises underlying Hill.
  First, in McCullen, the Supreme Court held that a Massachusetts law

forbidding speakers from standing within thirty-five feet of abortion-

clinic entrances violated the First Amendment. The Court held that this

law (like the Hill law) was content neutral because the law’s prohibition

was triggered merely by a person’s proximity to an abortion clinic, not by

the content of her speech. 573 U.S. at 479-80. But in explicating the

meaning of content neutrality, the Court opined that the law “would be

content based if it required ‘enforcement authorities’ to ‘examine the con-

tent of the message that is conveyed to determine whether’ a violation

has occurred.” Id. at 479 (emphasis added). This is the precise test the

Hill Court refused to adopt, claiming that “we have never suggested” that

a need for an “examination” of content would make a law content based.
530 U.S. at 721-22.


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   Similarly, the McCullen Court held that the law at issue there “would

not be content neutral if it were concerned with undesirable effects that

arise from the direct impact of speech on its audience or listeners’ reac-

tions to speech.” 573 U.S. at 481 (cleaned up). “If, for example,” the regu-
lated speech “caused offense or made listeners uncomfortable, such of-

fense or discomfort would not give the [government] a content-neutral

justification to restrict the speech.” Id.
   This holding is irreconcilable with finding the Hill law content neu-

tral, even under Hill’s own analysis. Again, Hill identified the govern-

ment interest allegedly justifying Colorado’s law as protecting abortion-
clinic patients from the “potential trauma … associated with confronta-

tional protests.” 530 U.S. at 715. That interest is indisputably one “con-

cerned with [the] impact of speech on its audience.” McCullen, 573 U.S.

at 481. Indeed it is indistinguishable from the specific example offered as

content based in McCullen. Cf. Hill, 530 U.S. at 734 (“This statute simply

empowers private citizens entering a health care facility with the ability

to prevent a speaker … from communicating a message they do not wish

to hear.”).

   Turning to intermediate scrutiny, here too McCullen undermined Hill.

In Hill, the Court held that the law’s “bright-line prophylactic rule” was

justified based on the “great difficulty” in protecting abortion clinics and

patients through more tailored “legal rules that focus exclusively on the
individual impact of each instance of behavior.” Id. at 729. Echoing Hill,


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the government in McCullen defended its law as a prophylactic measure

that would be an easily enforceable bright-line rule—even if it restricted

more speech than necessary to advance the government’s interests. 573

U.S. at 495-96.
   Yet the McCullen Court rejected this argument in language flatly ir-

reconcilable with Hill. Although “[a] painted line on the sidewalk is easy

to enforce,” the Court explained, “the prime objective of the First Amend-
ment is not efficiency.” Id. at 495. Rather, “[t]o meet the requirement of

narrow tailoring, the government must demonstrate that alternative

measures that burden substantially less speech would fail to achieve the
government’s interests, not simply that the chosen route is easier,” id.—

a showing Massachusetts there had failed to make. See also id. at 486

(“[B]y demanding a close fit between ends and means, the tailoring re-

quirement prevents the government from too readily sacrificing speech

for efficiency.” (cleaned up)).

   The year after McCullen, the Supreme Court decided Reed, which held

that a city “sign code” violated the First Amendment. Citing Hill, the

lower courts found the sign code content neutral on the ground that the

city “‘did not adopt its regulation of speech because it disagreed with the

message conveyed’ and its ‘interests [were] unrelated to … content.’” 576

U.S. at 162-63. But citing the Hill dissents, the Supreme Court rejected




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this approach, holding that this focus on “governmental motive” “misun-

derstand[s]” content neutrality. Id. at 166-67 (citing Hill, 530 U.S. at 766

(Kennedy, J., dissenting)).

  To the contrary, Reed held that even if the government has a “benign
motive, content-neutral justification, or lack of ‘animus toward the ideas

contained’ in the regulated speech,” a law that is facially content based

triggers strict scrutiny. Id. at 165. In other words, a law is content
based—and strict scrutiny applies—“either” when it is “content based on

its face” or when its “purpose and justification … are content based.” Id.

at 166 (emphasis added). Reed thus makes clear that by focusing on Col-
orado’s allegedly content-neutral justification for its law, rather than the

law’s plainly content-based text, the Hill Court “skip[ped] the crucial first

step in the content-neutrality analysis: determining whether the law is

content neutral on its face.” Id. at 165.

  In short, as a unanimous Seventh Circuit panel including then-Judge

Barrett explained, “Hill is incompatible with current First Amendment

doctrine as explained in Reed and McCullen.” Price, 915 F.3d at 1117; see

also Sisters for Life, Inc. v. Louisville-Jefferson County, 56 F.4th 400, 408

(6th Cir. 2022) (Sutton, C.J.) (“[T]here may be some tension between Hill

(which upheld a floating bubble zone restriction) and McCullen (which

invalidated a fixed buffer zone restriction).”); New York v. Griepp, 991

F.3d 81, 143 (2d Cir. 2021) (Livingston, C.J., dissenting) (noting that “the
Supreme Court has recognized such laws [in Hill and Price] to impose an


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especially significant First Amendment burden on traditional forms of

expression such as normal conversation and leafletting on a public side-

walk” (cleaned up) (quoting McCullen, 573 U.S. at 488-89)), majority de-

cision vacated on rehearing, 11 F.4th 174. Each of Hill’s core pillars—its
methodology for determining content neutrality, its view of what consti-

tutes a content-neutral justification, and its understanding of narrow tai-

loring—were aberrations when Hill was decided and stand in “stark con-
trast” with recent Supreme Court precedent. Price, 915 F.3d at 1118.

     3. Hill is ripe for overruling.

  This Court may lack authority to resolve the tension itself. See, e.g.,
Price, 915 F.3d at 1111 (“The Court’s intervening decisions have eroded

Hill’s foundation, but the case still binds us; only the Supreme Court can

say otherwise.”); Turco v. City of Englewood, 935 F.3d 155, 167 (3d Cir.

2019) (“Given the Court’s analysis in Hill, we simply cannot conclude that

the eight-foot buffer zones established under the Ordinance posed a se-

vere burden on speech.”). But there is no mystery how the tension must

ultimately be resolved—by overruling Hill.

  In Dobbs, a Supreme Court majority faulted “[t]he Court’s abortion

cases” for “distort[ing] First Amendment doctrines,” citing the Hill dis-

sents. 142 S. Ct. at 2275-76 & n.65. The era resulting in Hill—in which

courts “engineer[ed] exceptions to” ordinary rules in order to “vindicat[e]”

abortion over other interests—is now over. Id. at 2275-76; see also, e.g.,
SisterSong Women of Color Reprod. Just. Collective v. Governor of Ga.,


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40 F.4th 1320, 1328 (11th Cir. 2022) (Pryor, C.J.) (“[T]o the extent that

this Court has distorted legal standards because of abortion, we can no

longer engage in those abortion distortions in the light of [the Dobbs] de-

cision instructing us to cease doing so.”).
  Likewise, in City of Austin v. Reagan National Advertising of Austin,

LLC, Justices Thomas, Gorsuch, and Barrett viewed Hill as so plainly

“discredited” that merely comparing the majority’s approach to Hill con-
stituted a criticism. 142 S. Ct. 1464, 1481, 1490 (2022) (Thomas, J., dis-

senting). In response, the majority did not defend Hill. Rather, it dis-

claimed reliance on it, calling it a decision “we do not cite.” Id. at 1475
(majority opinion).

  Indeed, not even the County believes Hill remains reliable precedent.

In a committee meeting leading to the Sidewalk Counseling Ban’s pas-

sage, the County Attorney cited Price and City of Austin’s “dissent exco-

riating Hill,” warned that “[i]f this legislation … ever got [to the Supreme

Court], I have real questions,” and stated that “I think we know what the

Supreme Court would rule if this ever got there,” “so hopefully our legis-

lation never gets to the Supreme Court.” Joint Meeting, supra, at 39:55-

40:39, 1:53:11-1:53:17. The County Attorney also stated that “there are




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some recent appointees by the former president on the Second Circuit

that I don’t think would support us here.” Id. at 40:35-40:50. 6

    As this case demonstrates, Hill continues to do real damage. Debra

Vitagliano is trained, ready, and willing to engage in sidewalk counseling

now, in the hopes that some women, upon receiving her information and

support, might choose life for their unborn children. The County’s law—

justified only by Hill—strips her of that opportunity.
    C. Under a proper First Amendment analysis, the Sidewalk
       Counseling Ban is unconstitutional.
    Absent Hill, the analysis in this case would be straightforward: the

Sidewalk Counseling Ban violates the First Amendment.
      1. The Sidewalk Counseling Ban is content based.

    The Sidewalk Counseling Ban is content based under Reed and

McCullen. As explained, there are two ways in which a law can be content

based and thus subject to strict scrutiny—if it “is content based on its

face” or if “the purpose and justification for the law are content based.”



6  Outside legal experts who also testified at the committee meeting
agreed. See, e.g., Joint Meeting, supra, at 24:20-24:28 (“several commen-
tators have read [McCullen] as also calling into question the reasoning of
Hill”); id. at 47:31-47:35 (“I think it’s true that Hill may get overturned.”);
id. at 48:50-48:53 (Hill is “on too shaky ground now”); id. at 1:40:32-
1:41:01 (“The Court might strike it down, which I think if it did take [the
case], it’s likely that it would, especially given dicta and other statements
by justices of what their view is, and given Alito’s concurrence [in McCul-
len] and Scalia’s dissent in Hill. … I think, yes, that the Court would
strike it down.”).

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Reed, 576 U.S. at 166. The Sidewalk Counseling Ban is content based

under both tests.

  First, the Sidewalk Counseling Ban is content based on its face. The

law by its terms “applies to particular speech because of the topic dis-
cussed or the idea or message expressed.” Id. at 163. A speaker has to

obtain permission to approach within eight feet of a woman outside an

abortion clinic only if her intended speech includes certain categories of
content—“protest, education, or counseling.” If, by contrast, the speaker

wishes to approach a woman to engage in speech of any other content—

say, to take a poll, solicit donations, ask for directions, or wish good
luck—she is free to do so.

  Put differently, in enforcing the Sidewalk Counseling Ban, authorities

must “examine the content of the message that is conveyed to determine

whether a violation has occurred.” McCullen, 573 U.S. at 479 (cleaned

up). “[D]ivining [the] purpose” of an approach could not be done other-

wise. Price, 915 F.3d at 1118.

  This Court’s precedent demonstrates the point. In Centro de la Co-

munidad Hispana de Locust Valley, this Court considered an ordinance

forbidding persons “standing within or adjacent to any public right-of-

way” from “stop[ping] or attempt[ing] to stop any motor vehicle … for the

purpose of soliciting employment of any kind.” 868 F.3d at 107. The Court

found this law content based. The Court explained that “[a]lthough the




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Ordinance has a conduct component—the attempted stopping of a vehi-

cle—the Ordinance only punishes such conduct if done ‘for the purpose of

soliciting employment.’” Id. at 112. “Consequently, Town officials must

monitor and evaluate the speech of those stopping or attempting to stop
vehicles and they may sanction the speaker only if a suspect says the

wrong thing, for example, ‘hire me’ as opposed to ‘tell me the time.’” Id.

   Absent Hill, this Court could say exactly the same thing here. Even if
the Sidewalk Counseling Ban has “a conduct component”—approaching

within eight feet without consent—it “only punishes such conduct if done

‘for the purpose of’” protesting, educating, or counseling. Id. On its face,
that is a content-based restriction. See Reed, 576 U.S. at 163 (law that

defines “regulated speech by its function or purpose” is facially content

based).

   Second, the Sidewalk Counseling Ban’s “purpose and justification” are

also content based. Id. at 166. Under McCullen, if a law is “concerned

with undesirable effects that arise” from speech’s effect on listeners—

such as if its purpose or justification is protecting listeners from “offense

or discomfort”—the law is content based. 573 U.S. at 481.

   But as Hill made clear, the purpose served by laws like the County’s

is exactly that—protecting abortion-clinic patients from the “potential

trauma … associated with confrontational protests.” 530 U.S. at 715. Af-

ter McCullen, that is no longer a content-neutral justification for a speech
restriction.


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     2. The Sidewalk Counseling Ban cannot survive strict, or
        even intermediate, scrutiny.
  As a content-based law, the Sidewalk Counseling Ban triggers strict

scrutiny—a “demanding standard.” Brown v. Ent. Merchs. Ass’n, 564 U.S.

786, 799 (2011); see also, e.g., United States v. Playboy Ent. Grp., 529 U.S.

803, 818 (2000) (“It is rare that a regulation restricting speech because of

its content will ever be permissible.”). But McCullen demonstrates that

the Ban cannot survive even intermediate scrutiny, making the strict-

scrutiny holding follow a fortiori. Cf. Nat’l Inst. of Fam. & Life Advocs. v.

Becerra, 138 S. Ct. 2361, 2371, 2375 (2018) (declining to decide whether

to apply strict scrutiny “because the licensed notice cannot survive even

intermediate scrutiny”).
  To be narrowly tailored, a speech regulation “must not ‘burden sub-

stantially more speech than is necessary to further the government’s le-

gitimate interests.’” McCullen, 573 U.S. at 486. This inquiry “demand[s]
a close fit between ends and means,” “prevent[ing] the government from

too readily sacrificing speech for efficiency.” Id. (cleaned up).

  In McCullen, for example, Massachusetts claimed the buffer zone
around abortion clinics “promotes ‘public safety, patient access to

healthcare, and the unobstructed use of public sidewalks and roadways.’”

Id. at 486. Yet it had many “options that could serve its interests just as
well, without substantially burdening the kind of speech in which peti-

tioners wish to engage.” Id. at 490. And Massachusetts failed to show “it



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seriously undertook to address the problem with [these] less intrusive

tools” before turning to the challenged restriction. Id. at 494.

    That analysis is dispositive here. First, the County below gestured at

Hill’s view that eight feet represents a “normal conversational distance.”
530 U.S. at 726-27; see App.30. But if eight feet were normal, the County

would not have needed to stress in recent years that six feet constituted

“social distancing.” 7 Cf. Hill, 530 U.S. at 756 (Scalia, J., dissenting) (“ab-

surd” to suggest that it is normal for speakers to “walk[] along the public

sidewalk … ‘conversing’ at an 8-foot remove”). In any event, the com-

plaint explains in detail the practical and message-based reasons why it
is “essential” for Plaintiff’s counseling to “be conducted within eight feet

and within arm’s reach.” App.11-12 ¶53; see also App.8 ¶38. And the

“First Amendment mandates that we presume that speakers, not the gov-
ernment, know best both what they want to say and how to say it.” Riley

v. Nat’l Fed’n of the Blind of N.C., Inc., 487 U.S. 781, 790-91 (1988).

    Meanwhile, as in McCullen, the County “has available to it a variety

of approaches that appear capable of serving” any legitimate interests in

protecting access to abortion clinics and guarding against harassment



7  Coronavirus Disease 2019 (COVID-19), Westchester Cnty. Dep’t of
Health, https://perma.cc/QV7K-SZ7U; see also, e.g., Dave Zucker, More
Westchester Communities Have Been Designated COVID-19 Micro-Clus-
ters, Westchester Magazine (Nov. 19, 2020), https://perma.cc/5K98-FP6A
(County Executive Latimer: “Wearing a mask and social distancing is not
an option—you must do it.”).

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and violence. 573 U.S. at 493-94. Indeed, the County has available to it

many of the same options identified by the McCullen Court—some ap-

pearing in other parts of § 425.31 itself.

   For example, the McCullen Court noted the Massachusetts statute at
issue had a “separate provision” making it a crime to knowingly obstruct

or block another’s entry to or exit from an abortion clinic. Id. at 490-91.

So too here—§ 425.31(a) makes it a crime to “knowingly physically ob-
struct or block another person from entering into or exiting from” an

abortion clinic (or its parking lot).

   Likewise, the McCullen Court said that “[i]f Massachusetts deter-
mines that broader prohibitions along the same lines are necessary, it

could enact legislation similar to the federal Freedom of Access to Clinic

Entrances Act of 1994 (FACE Act).” 573 U.S. at 491. Here, New York

State already has a FACE Act analogue of its own. N.Y. Penal Law

§ 240.70. And the County has followed suit: § 425.31 includes two provi-

sions closely tracking the FACE Act and its New York analogue, which if

anything only broaden those prohibitions. Compare 18 U.S.C. § 248(a)(1)

(barring injuring, intimidating, or interfering with persons seeking to ob-

tain or provide abortions, by “by force or threat of force or by physical

obstruction”), and N.Y. Penal Law § 240.70 (same), with Laws of

Westchester County § 425.31(e)-(f) (same); see also Letter Response at 5,

Hulinsky, No. 7:22-cv-6950 (Jan. 9, 2023), ECF No. 58 (County acknowl-




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edging that “there is no material difference between Chapter 425’s pro-

hibitions and definitions and the FACE’s (or New York State law’s) pro-

hibitions and definitions”).

  Similarly, McCullen also pointed out that “if the Commonwealth is
particularly concerned about harassment, it could also consider an ordi-

nance [that] makes it a crime ‘to follow and harass another person’” near

an abortion clinic. 573 U.S. at 491. The County has done this, too—pro-
hibiting “follow[ing] and harass[ing]” near abortion clinics in § 425.31(c).

  Indeed, § 425.31 includes other provisions that go beyond options of-

fered by the McCullen Court. Subsection (b) prohibits “unwanted physi-
cal contact” near an abortion clinic. Subsection (d) prohibits “knowingly

engag[ing] in a course of conduct” that “places another person in reason-

able fear of physical harm” near an abortion clinic. Subsection (g) prohib-

its “physically damag[ing]” an abortion clinic. And subsection (h) prohib-

its “knowingly interfer[ing] with” (or attempting to interfere with) a

clinic’s “operation[s].” All these provisions address any County interests

in access and safety—and all are “unchallenged by [Plaintiff]” here.

McCullen, 573 U.S. at 490-91.

  And all this says nothing of “generic criminal statutes forbidding as-

sault, breach of the peace, trespass, vandalism, and the like.” Id. at 492;

cf. NIFLA, 138 S. Ct. at 2377 (“California already makes it a crime for

individuals without a medical license to practice medicine.”). New York
law of course prohibits entering the property of another (including an


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abortion clinic) without permission, subjecting that conduct to both civil

and criminal penalties. N.Y. Penal Law § 140.10; see Long Island Gyne-

cological Servs., P.C. v. Murphy, 298 A.D.2d 504, 74 N.Y.S.2d 776 (2d

Dep’t 2002) (affirming permanent injunction for trespassing at abortion
clinic). And New York has generally applicable criminal statutes forbid-

ding, inter alia, assault, N.Y. Penal Law § 120.00; harassment, id.

§§ 240.25-26; and disorderly conduct, id. § 240.20.
  The County thus has numerous other ways to punish violent, obstruc-

tive, and harassing behavior outside abortion clinics besides a content-

based ban on approaching within eight feet. And the County plainly can-
not “show[]” that such “other approaches have not worked.” McCullen,

573 U.S. at 494, 496. For one thing, subsections (a)-(h) of § 425.31 were

enacted contemporaneously with the Sidewalk Counseling Ban in sub-

section (i)—so these provisions cannot possibly have been tried and found

wanting. “[R]egardless, a ‘tepid response’ does not prove that [more nar-

rowly tailored action] is not a sufficient alternative.” NIFLA, 138 S. Ct.

at 2376 (quoting Playboy, 529 U.S. at 816).

  Moreover, according to the Act’s committee report, the local incident

that allegedly “demonstrate[d] a need” for the Act was a November 2021

trespassing where a Catholic priest and two other pro-life advocates en-

tered a White Plains abortion clinic and remained inside for two hours,

despite requests to leave from staff and police. Meeting Agenda, supra,
at 23; see also Matt Spillane, Men with Red Rose Rescue Found Guilty of


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Trespassing at White Plains Abortion Clinic, Lohud (Mar. 18, 2022),

https://perma.cc/6LP6-8TJF. That incident—which occurred inside the

clinic, rather than on the public way—was addressed under preexisting

criminal trespass law, with the advocates being convicted and sentenced
to jail time for their actions. Mike Randall, Anti-Abortion Activists Sen-

tenced for Trespassing at White Plains Medical Facility, Lohud (Aug. 3,

2022), https://perma.cc/B6A4-FAWY. There is no indication that other ex-
isting laws—the federal FACE Act, the state FACE Act analogue, the

County FACE Act analogue, and general criminal prohibitions on vio-

lence, harassment, and obstruction—have ever been tried and proved in-
sufficient to address conduct at Westchester abortion clinics.

  Given the multitude of other prohibitions available if and when a prob-

lem might arise, the only additional function served by the Sidewalk

Counseling Ban is to prohibit peaceful, non-threatening, non-harassing

speech aimed at giving abortion-minded women a final chance to learn

more about their options. That may be exactly what the County wants—

but it is not permitted by the First Amendment. McCullen, 573 U.S. at

477 (“government may not ‘selectively … shield the public from some

kinds of speech on the ground that they are more offensive than others’”).




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     3. History and tradition confirm                 that    the   Sidewalk
        Counseling Ban is unlawful.
  Nor is this a case in which “history and tradition” counsel a different

result. City of Austin, 142 S. Ct. at 1474-75. In City of Austin, the Su-

preme Court upheld as content neutral a law that prohibited the digiti-

zation of signs advertising things “not located on the site where the sign

is installed”—e.g., billboards. Id. at 1468-69. In reaching that conclusion,

the Court emphasized that such “[o]n/off-premises distinctions” were part

of a “regulatory tradition” stretching back to the late 1860s; that they

existed at the federal level and had “proliferated” since at least 1965; and

that today “two-thirds of States” and “tens of thousands of municipalities

nationwide” have laws analogous to the one challenged there. Id. at 1469,
1474-75.

  Here, history and tradition cut the opposite direction. The Sidewalk

Counseling Ban does not regulate commercial billboards; it regulates
peaceful face-to-face speech about important matters on public streets

and sidewalks—which have been used “immemorially” for “communi-

cating thoughts between citizens, and discussing public questions.”
McCullen, 573 U.S. at 476. “Such areas occupy a ‘special position in terms

of First Amendment protection’ because of their historic role as sites for

discussion and debate.” Id. (quoting United States v. Grace, 461 U.S. 171,
180 (1983)).




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    Moreover, far from reflecting a century-and-a-half-old tradition, the

first Hill-style law prohibiting unconsented approaches outside abortion

clinics was adopted by the City of Boulder in 1986. 8 Such laws were con-

troversial from the start, with courts repeatedly striking down variations
less restrictive of speech. See Edwards v. City of Santa Barbara, 150 F.3d

1213, 1215 (9th Cir. 1998) (striking down ordinance permitting abortion-

clinic patients to “create” an eight-foot “bubble” zone by “asking the de-

monstrator to withdraw”); Sabelko v. City of Phoenix, 120 F.3d 161 (9th

Cir. 1997) (same). And by the time the Court decided Hill, it appears Col-

orado was the only state with that type of law. See generally Br. Amici
Curiae of the State of New York, et al., at 19, Hill, 1999 WL 1186258

(Dec. 13, 1999). Today, it appears Montana is the only other state to have

followed suit, see Mont. Code Ann. § 45-8-110(1), and the local analogues
outside Colorado all likewise post-date Hill, some by many years, see, e.g.,

Charleston, W.V., Code § 78-235(c) (2019); Chi., Ill., Code § 8-4-010(j)(1)

(2009).

    In short, the dearth of “history and tradition of regulation” here, City

of Austin, 142 S. Ct. at 1475, only confirms the result required by McCul-

len and Reed: the Sidewalk Counseling Ban violates the First Amend-

ment.




8  Boulder Passes Abortion ‘Buffer-Zone’ Law, AP News (Oct. 22, 1986),
https://perma.cc/8J7F-EUS5.

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                             CONCLUSION

  The district court’s standing holding should be reversed. Although the

district court’s merits holding was dictated by Hill, Hill should be over-

ruled by the Supreme Court.


                                         Respectfully submitted,

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                  CERTIFICATE OF COMPLIANCE
  This document complies with the requirements of 2d Cir. R. 32.1(a)(4)

because it has 13,412 words.

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R. App. P. 32(a)(5) and the type-style requirements of Fed. R. App. P.

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February 24, 2023                      /s/ Mark L. Rienzi
                                       Mark L. Rienzi




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                     CERTIFICATE OF SERVICE

  I hereby certify that I electronically filed the foregoing with the Clerk

of the Court for the United States Court of Appeals for the Second Circuit

by using the appellate CM/ECF system on February 24, 2023.

  I certify that all participants in the case have been served a copy of the

foregoing by the appellate CM/ECF system or by other electronic means.


February 24, 2023                           /s/ Mark L. Rienzi
                                            Mark L. Rienzi




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                      STATUTORY ADDENDUM
                  CHAPTER 425
  REPRODUCTIVE HEALTH CARE FACILITIES ACCESS ACT

  Sec. 425.01. Short title.

  Sec. 425.11. Legislative Intent.

  Sec. 425.21. Definitions.

  Sec. 425.31. Prohibited Content.

  Sec. 425.41. Violations.

  Sec. 425.51. Civil cause of action.

  Sec. 425.61. Civil action by County of Westchester.

  Sec. 425.71. Joint and several liability.

  Sec. 425.81. Construction.
  Sec. 425.91. Severability.

Sec. 425.01. Short title.

  This title shall be known as and may be cited as the “Reproductive
Health Care Facilities Access Act.”

Sec. 425.11. Legislative intent.

  The County Board of Legislators finds that the right to access repro-

ductive health care facilities and the right to obtain reproductive health

care services, treatments, and/or procedures are essential personal rights

protected by state and federal law. Equally, the right to peaceably protest

and express one’s views is an essential right protected by state and fed-

eral law. Such actions include, but are not limited to, the right to speak,



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march, demonstrate, picket, pray, associate with others in expressive be-

havior, or engage in other activity protected by the First Amendment.

  The County Board is aware that there are individuals and/or groups

of individuals who may exceed the boundaries of lawful First Amendment
expression by engaging in activities that prevent individuals from access-

ing reproductive health care facilities or obtaining reproductive health

care services, treatments, or procedures, or by engaging in activities that
unlawfully harass or intimidate individuals trying to access such facili-

ties and services. Such activities unlawfully interfere with both the oper-

ators of reproductive health care facilities and all individuals seeking free
entrance to and egress from such facilities.

  The County Board finds that current law does not adequately protect

reproductive health care facilities, and those who work in, seek access to,

or obtain services from such facilities. Therefore, the County Board of

Legislators has determined that it is appropriate to enact legislation to

prohibit interference with accessing reproductive health care facilities

and obtaining reproductive health care services, in order to: protect and

promote the public health, safety, and welfare; ensure order; protect the

freedom of access to reproductive health care facilities; protect the free-

dom to obtain reproductive health care services; promote the free flow of

traffic in the public way; advance medical privacy and the well-being of

patients seeking access to reproductive health care facilities and obtain-
ing reproductive health care services; and safeguard private property.


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This proposed Local Law protects persons seeking access to reproductive

health care facilities and services both inside facilities as well as outside

said facilities. The County Board finds that this Local Law does not pro-

hibit conduct normally protected by the First Amendment. However,
“true threats” and expression that takes place while trespassing on pri-

vate property are not protected under the First Amendment. The right to

engage in legitimate First Amendment activity does not shield individu-
als who trespass on private property or otherwise run afoul of the law.

And to the extent any First Amendment conduct is affected by this Local

Law at all, the law acts as a modest and reasonable time, place, and man-
ner restriction that leaves ample room to communicate messages through

speech and other protected First Amendment activity.

  The County Board has further determined that persons harmed by

such interfering conduct should be able to seek redress in the courts, in-

cluding state courts, for injunctive relief, damages, and attorney’s fees

and costs, and that the County of Westchester should be able to obtain

appropriate injunctive relief under this Local Law.

Sec. 425.21. Definitions.

  Whenever used in this Chapter, the following words and phrases shall

have the meanings indicated, unless the context or subject matter other-

wise requires:
  a. “Approach” shall mean to move nearer in distance to someone.
  b. “Eight (8) feet” shall be measured from the part of a person’s
     body that is nearest to the closest part of another person’s

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     body, where the term “body” includes any natural or artificial
     extension of a person, including, but not limited to, an out-
     stretched arm or handheld sign.
c.   “Harass” shall mean to engage in a course of conduct or re-
     peatedly commit conduct or acts that alarm or seriously annoy
     another person and which serve no legitimate purpose. For
     the purposes of this definition, conduct or acts that serve no
     legitimate purpose include, but are not limited to, conduct or
     acts that continue after an express or implied request to cease
     has been made.
d.   “Interfere with” shall mean to restrict a person’s freedom of
     movement, or to stop, obstruct, or prevent, through deceptive
     means or otherwise.
e.   “Intimidate” shall mean to place a person in reasonable ap-
     prehension of physical injury to such person or to another per-
     son.
f.   “Invitee” shall mean an individual who enters another’s prem-
     ises as a result of an express or implied invitation of the owner
     or occupant for their mutual gain or benefit.
g.   “Person” shall mean an individual, corporation, not-for-profit
     organization, partnership, association, group, or any other en-
     tity.
h.   “Physically obstruct or block” shall mean to physically hinder,
     restrain, or impede, or to attempt to physically hinder, re-
     strain or impede, or to otherwise render ingress to or egress
     from, or render passage to or from the premises of a reproduc-
     tive health care facility impassable, unreasonably difficult, or
     hazardous.
i.   “Premises of a reproductive health care facility” shall include
     the driveway, entrance, entryway, or exit of the reproductive
     health care facility, the building in which such facility is lo-
     cated, and any parking lot in which the facility has an owner-
     ship or leasehold interest.
j.   “Public parking lot serving a reproductive health care facility”
     shall mean any public parking lot that serves a reproductive
     health care facility and that has an entrance or exit located
     within one-hundred (100) feet of any door to that reproductive
     health care facility.


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  k. “Reproductive health care facility” shall mean any building,
     structure, or place, or any portion thereof, at which licensed,
     certified, or otherwise legally authorized persons provide re-
     productive health care services.
  l. “Reproductive health care services” shall mean medical, sur-
     gical, counseling, or referral services relating to the human
     reproductive system, including services relating to pregnancy
     or the termination of a pregnancy.

Sec. 425.31. Prohibited conduct.

  It shall be unlawful for any person to do the following:
  a. knowingly physically obstruct or block another person from
     entering into or exiting from the premises of a reproductive
     health care facility or a public parking lot serving a reproduc-
     tive health care facility, in order to prevent that person from
     obtaining or rendering, or assisting in obtaining or rendering,
     medical treatment or reproductive health care services; or
  b. strike, shove, restrain, grab, kick, or otherwise subject to un-
     wanted physical contact or injury any person seeking to le-
     gally enter or exit the premises of a reproductive health care
     facility; or
  c. knowingly follow and harass another person within twenty-
     five (25) feet of (i) the premises of a reproductive health care
     facility or (ii) the entrance or exit of a public parking lot serv-
     ing a reproductive health care facility; or
  d. knowingly engage in a course of conduct or repeatedly commit
     acts when such behavior places another person in reasonable
     fear of physical harm, or attempt to do the same, within
     twenty-five (25) feet of (i) the premises of a reproductive
     health care facility or (ii) the entrance or exit of a public park-
     ing lot serving a reproductive health care facility; or
  e. by force or threat of force, or by physically obstructing or
     blocking, knowingly injure, intimidate, or interfere with, or
     attempt to injure, intimidate, or interfere with, another per-
     son in order to discourage such other person or any other per-
     son or persons from obtaining or providing, or assisting in ob-
     taining or providing, reproductive health care services; or


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  f. by force or threat of force, or by physically obstructing or
     blocking, knowingly injure, intimidate, or interfere with, or
     attempt to injure, intimidate or interfere with, another person
     because such person was or is obtaining or providing, or was
     or is assisting in obtaining or providing, reproductive health
     care services; or
  g. physically damage a reproductive health care facility so as to
     interfere with its operation, or attempt to do the same; or
  h. knowingly interfere with the operation of a reproductive
     health care facility, or attempt to do the same, by activities
     including, but not limited to, interfering with, or attempting
     to interfere with (i) medical procedures or treatments being
     performed at such reproductive health care facility; (ii) the de-
     livery of goods or services to such reproductive health care fa-
     cility; or (iii) persons inside the facility; or
  i. knowingly approach another person within eight (8) feet of
     such person, unless such other person consents, for the pur-
     pose of passing any material, item, or object to, displaying a
     sign to, or engaging in oral protest, education, or counseling
     with such other person in the public way within a radius of
     one-hundred (100) feet from any door to a reproductive health
     care facility.

Sec. 425.41. Violations.
  a. Any person who shall violate any provision of section 425.31
     shall be guilty of a misdemeanor, punishable by a fine not to
     exceed one thousand dollars ($1,000), or imprisonment not to
     exceed six (6) months, or both, for a first conviction under sec-
     tion 425.31; and
  b. For a second and each subsequent conviction under section
     425.31, the penalty shall be a fine not to exceed five thousand
     dollars ($5,000), or imprisonment not to exceed one (1) year,
     or both.




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Sec. 425.51. Civil cause of action.

  Where there has been a violation of section 425.31, any person whose

ability to access the premises of a reproductive health care facility has

been interfered with, and any owner or operator of a reproductive health
care facility or owner of a building in which such facility is located, and

any employee, paid or unpaid, and any volunteer working for such facil-

ity, and any invitee, may bring a civil action in any court of competent
jurisdiction, within five years of such violation, for any or all of the fol-

lowing relief: injunctive relief; actual damages suffered as a result of such

violation, including, where applicable, pain and suffering, psychological,
and emotional distress damages; treble the amount of actual damages

suffered as a result of such violation; and attorney’s fees and costs.

Sec. 425.61. Civil action by County of Westchester.

  The County Attorney may bring a civil action on behalf of the County,

in accordance with the provisions of Sec. 158.11(3) of the Laws of

Westchester County, in any court of competent jurisdiction for injunctive

and other appropriate equitable relief in order to prevent or cure a viola-

tion of section 425.31.

Sec. 425.71. Joint and several liability.

  If it is found, in any action brought pursuant to the provisions of this

chapter, that two (2) or more of the named defendants acted in concert

pursuant to a common plan or design to violate any provision of section




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425.31, such defendants shall each be held jointly and severally liable for

any fines or penalties imposed or any damages, costs, and fees awarded.

Sec. 425.81. Construction.
  a. No provision of this chapter shall be construed or interpreted
     so as to limit the right of any person or entity to seek other
     available criminal penalties or civil remedies, including either
     the Attorney General for the State of New York or the District
     Attorney for the County of Westchester.
  b. No provision of this chapter shall be construed or interpreted
     so as to prohibit expression protected by the First Amendment
     of the Constitution of the United States or section eight of ar-
     ticle one of the Constitution of the State of New York.
  c. No provision of this chapter shall be construed or interpreted
     so as to limit the lawful exercise of any authority vested in the
     owner or operator of a reproductive health care facility, the
     owner of the premises in which such a facility is located, or a
     law enforcement officer of Westchester County or of any mu-
     nicipality within Westchester County, or of New York State
     or the United States, acting within the scope of such person’s
     official duties.

Sec. 425.91. Severability.

  If any clause, sentence, paragraph, section, or part of this Local Law

shall be adjudged by any court of competent jurisdiction to be invalid,
such judgment shall not affect, impair, or invalidate the remainder

thereof, but shall be confined in its operation to the clause, sentence, par-

agraph, section, or part thereof directly involved in the controversy in
which such judgment shall have been rendered.




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